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 Attorneys for the Debtors


 In re:                                         : UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF NEW JERSEY
 SHAPES/ARCH HOLDINGS L.L.C., et                :
 al.,                                             CHAPTER 11
                                                :
                       Debtors.                   CASE NO. 08-14631 (GMB)
                                                : (Jointly Administered)

       FIFTH INTERIM MONTHLY FEE STATEMENT OF COZEN O’CONNOR,
       ATTORNEYS TO THE DEBTORS AND DEBTORS-IN-POSSESSION, FOR
     COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                  FROM JULY 1, 2008 THROUGH JULY 31, 2008

 TO:      HONORABLE GLORIA M. BURNS
          UNITED STATES BANKRUPTCY JUDGE


          This Fifth Interim Monthly Fee Statement for Compensation and Reimbursement of

 Expenses (the “Fifth Interim Fee Statement”) is filed by Cozen O’Connor (“CO”), attorneys to

 Shapes/Arch Holdings L.L.C. and its related debtor entities, the debtors and debtors-in-

 possession (collectively the “Debtors”)1, requesting compensation and reimbursement of

 expenses for services provided by CO as attorneys to the Debtors for the period from July 1,

 2008 through July 31, 2008 (the “Fifth Interim Period”).


 1
   In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
 which are wholly owned subsidiaries or Shapes/Arch, also filed petitions on the Petition Date
 (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C.
 (“Accu-Weld”); and Ultra L.L.C. (“Ultra”).


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                                             Background

          1.      On March 16, 2008 (the “Petition Date”), the Debtors filed their petitions for

 relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy Code”).

          2.      The Debtors are operating their businesses and managing their properties as

 debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

          3.      No trustee or examiner has been appointed in these cases.

          4.      An official committee of unsecured creditors (the “Committee”) was appointed on

 March 31, 2008 and has been actively involved in these cases since that time.

          5.      By Order dated April 9, 2008, CO was retained to represent the Debtors as their

 attorneys in these bankruptcy proceedings on the terms set forth in CO’s retention application,

 effective as of March 16, 2008.

          6.      On March 18, 2008, the Administrative Order Pursuant To 11 U.S.C. §§ 105(a)

 and 331 Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

 Professionals (the “Compensation Procedures Order”) was entered by the Court. CO submits

 this Fifth Interim Fee Statement for compensation and reimbursement of actual, necessary costs

 and expenses for its service to the Debtors.

          7.      CO’s previously submitted Monthly Fee Statements, are as follows:


  Date         Period Covered          Requested    Requested             Fees            Expenses
  Filed                                  Fees       Expenses              Paid              Paid

  4/23/08      March 16, 2008             $67,889    $9,408.04             $54,311.20      $9,408.04
               through March 31,                                      ($67,889 x 80%)
               2008



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  Date          Period Covered         Requested     Requested            Fees             Expenses
  Filed                                  Fees        Expenses             Paid               Paid

  5/22/08       April 1, 2008            $198,979     $3,366.02           $159,183.20       $3,366.02
                through April 30,                                    ($198,979 x 80%)
                2008

  6/12/08       May 1, 2008            $193,539.50    $4,783.12            $154,831.60      $4,783.12
                through May 31,                                         ($193,539.50 x
                2008                                                             80%)

  7/11/08       June 1, 2008           $187,484.50    $3,290.09            $149,987.60      $3,290.09
                through June 30,                                        ($187,484.50 x
                2008                                                             80%)

          8.       During this Fifth Interim Period, CO has been faithfully performing its duties

 under 11 U.S.C. § 327.

          9.       The professionals and paraprofessionals of CO who have rendered services in

 these cases for which CO seeks compensation are reflected on the attached Exhibit “A”, which

 provides the name of the professionals and paraprofessionals that have rendered services in these

 cases, their hourly rates and amount of time spent by each professional in these cases.

          10.      In accordance with the Compensation Procedures Order, and as set forth in Local

 Rule 2016-1 and the Court’s General Order Adopting Guidelines Governing Procedures for

 Payment of Interim Compensation and Reimbursement of Expenses to Professionals, a detailed

 chronological itemization of the services rendered by each professional and paraprofessional

 during the Fifth Interim Period, calculated by tenths of an hour, is attached hereto as

 Exhibit “B”.

          11.      During the Fifth Interim Period, CO provided services to the Debtors in the total

 amount of $183,973.00.



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         12.      Attached hereto as Exhibit “C” is a summary of the actual and necessary expenses

 incurred. During this Fifth Interim Period, CO incurred actual and necessary expenses in the

 total amount of $3,899.48.

         13.      Pursuant to the Compensation Procedures Order, CO seeks approval of 80% of

 the total compensation equal to $147,178.40 ($183,973.00 x 80%) and 100% reimbursement of

 expenses ($3,899.48) incurred by CO during the Fifth Interim Period.

         14.      Prior to the commencement of these cases, CO was paid a retainer totaling

 $180,227.67, a portion of which was utilized by CO to satisfy the fees and expenses requested in

 CO's First Interim Statement. The amount presently held by CO as a retainer is $116,508.43.

         WHEREFORE, CO respectfully requests that, for the period from July 1, 2008 through

 July 31, 2008, a fifth interim allowance be made to CO in the total amount of $147,178.40

 ($183,973.00 x 80% total fees incurred during the Fifth Interim Period) for compensation and

 $3,899.48 for reimbursement of actual, necessary costs and expenses and that such amounts be

 authorized for payment from the Debtors.

 Dated: August 8, 2008                         COZEN O’CONNOR


                                               By:       /s/ Jerrold N. Poslusny, Jr.
                                                     Mark E. Felger
                                                     Jerrold N. Poslusny, Jr.

                                                   Attorneys for the Debtors




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